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SETTLEMENT AGREEMENT AND RELEASE

THlS SETTLEMENT AGREEMENT AND RELEASE (herein “Release") is

made and entered into by and between SAMUEL HEARST (herein “Employee”) and DELI
MANAGEMENT, INC. (herein “Employer”) (collectively herein “Parties"). Employee was
previously employed by Employer. The Parties desire to settle the claims brought by Employee
against Ernployer for alleged unpaid overtime wages in the United States District Court for the
Northern District of Georgia, under the caption Hearst v. Deli Management, lnc, Case No. l:l'/'-cv-
02946~WSD (herein “Litigation”). Accordingly, in consideration of the mutual promises set forth
below, Employee and Employer agree as follows:

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The Litigation involves contested issues of fact and law and Employee and Employer
now wish to fully and finally settle Employee’s claims against Employer in the
Litigation.

in entering into this settlement, both Parties acknowledge that they have had the
opportunity to conduct certain discovery or otherwise investigate their claims and
defenses in this matter and to assess their relative likelihood of success on the merits, and
believe that, based on that assessment and the relevant facts and circumstances of the
case, the compromise reached between them is a fair resolution of the contested issues of
fact and law in this case.

The Parties further acknowledge that all payments referenced in this Release are intended
to fully and finally resolve any and all claims released herein between Employer and
Employee on terms that are mutually agreeable

By entering into this Release, Employer does not admit to any underlying liability or to
any underlying liability of its directors, officers, partners, shareholders, supervisorsJ
employees, representatives, successors, assigns, subsidiaries, affiliates, related entities,
parents, and insurers to Employer. Employer simply wishes to fully and finally resolve
Employee’s pending claims in the Litigation to avoid the distraction and cost of litigation

Employer promises and obligates itself to perform the following covenants in return for
the promises and performance undertaken by the Employee as set out in this Release;

a.) Employer Shall provide Employee with a payment in the gross amount of
$29,999 (herein “Settlement Amount”) divided as follows:

i.) a check to Employee in the amount of $4,527.82 (less all applicable
withholdings) in compromise of all of Employee’s disputed claims for

unpaid wages;

ii.) a check to Employee in the amount of $4,527.82 in compromise of
Employee’s disputed claim for liquidated damages; and

iii.) a check to Head Law Firm, LLC (Tax lD # to be supplied to Employer),

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in the amount of 320,943.36 as consideration for Employee’s disputed
claim for attorneys’ fees and costs incurred in connection with the
claims made in the Litigation.

b.) The sums described above shall be delivered to Head Law Finn, LLC, l 170
Howell Mill Rd. NW, Ste 305, Atlanta, GA, within ten business days after the
later of the following two events:

i.) Employer receives this Release executed by the Employee along with a copy
of a completed (current) W-9 for Head Law Firm, LLC and for Plaintiff; or

ii.) The U.S. District Court for the Northern District of Georgia issues an order
that specifically approves this Release or enters the parties‘ stipulated
judgment in the Litigation.

c.) Employer will issue an ]RS Form W-Z for the wage payment described in
paragraph 5(a)(i) above. Employer shall issue an IRS Form 1099, reported on
Box #3, to Plaintiff for the payment described in paragraph 5(a)(ii) above.
Employer shall issue an IRS Form 1099, reported on Box #14, to Employee’s
counsel for the payment described in paragraph 5(a)(iii) above. No payments
under paragraph 5 shall be made until the tax documents required by paragraph
S(b)(i) are received by the Employer. Defendants shall be solely responsible for
detemiining, processing, and reporting the amount of tax withholding, if any,
required from the W-2 payments made under this Agreement.

d.) Employer, its directors, ofticers, administrators, agents, subsidiaries, affiliates,
and attorneys, hereby release, remise, and forever discharge Employee from any
and all claims, demands, rights, charges, actions, interests, debts, liabilities,
damages, costs, attorneys' fees and expenses, or causes of action of whatever type
or nature, Whether legal or equitable, whether known or unknown to them which
they may now have against him, either individually, jointly, or severally, based
upon acts or facts which have occurred from the beginning of time to the date of
this Agreement, arising out of or related to the facts alleged in the Complaint or
the bringing of the Complaint itself.

e.) Employer shall comply with all other terms of this Release as provided for herein.

Employee promises and obligates himself to perform the following covenants under this
Release:

a.) Acting for himself, his heirs, personal representatives, administrators and anyone
asserting Employee’s claim for Employee by or through him, Employee
unconditionally and irrevocably releases, acquits, and discharges Employer and
its Releasees from any and all ciaims, whether known or unknown, that Employee
has or may have against Employer or its Releasees, expressly limited to:

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i.) Employee’s individual claims for failure to pay all required amounts due
for overtime hours worked;

ii.) Any other of Employee’s individual claims that Employee could have
brought under the Fair Labor Standards Act or any state or local law
regarding the payment of minimum wages or overtime, provided that such
claims arise out of the facts pleaded in his Complaint in the Litigation and
had accrued as of the date of this Release; and

iii.) Any rights that Employee may have to claim reimbursement from
Employer and its Releasees for attorneys’ fees, litigation costs, or
expenses that Employee may have incurred in the course of obtaining
legal advice on his claims described in subparagraphs 6(a)(i) or 6(a)(ii)
above, except as specifically provided for in this Agreement.

b.) For purposes of paragraph 6(a) above and its subparts, it is expressly agreed that:

i.) Employee is not releasing any other claims in this Agreement, and this
release shall not have res judicata, collateral estoppel, or other claim
preclusion effect on any claims not expressly released in this Agreement.

ii.) The phrase “Employer” shall mean Deli Management, lnc. The
“Releasees” of Employer shall mean the persons or entities who have any
of the following past or present relationships to Employer or any of its
related entities: directors, oftieers, operations directors, joint venture
partners, managing partners, shareholders, supervisors, employees,
representatives, sueeessors, assigns, subsidiaries, affiliates, parents, and
insurers.

e.) Employee represents that, other than the Litigation, he has not filed with any
eourt, government agency or other tribunal any pending action, charge, complaint,
grievance or arbitration against Employer.

d.) Employee shall comply with all other terms of this Release as provided for herein.

6. Employee and Employer promise and obligate themselves to jointly perform the

following covenants under this Release:

a.)

The Parties agree to cooperate in the filing of a joint motion seeking entry of
stipulated judgment approving this Agreement and dismissing this Litigation with
prejudice (without prejudice to preserve Parties’ rights to reopen if needed to
enforce this Agreement) consistent with Lvnn's Food Stores. lnc. v. United States,
679 F.Zd l350 (l lth Cir. 1982) and Nall v. Mal-Motels, lnc., 723 F.3d 1304 (l lth
Cir. 2013). The Parties agree to cooperate with each other in filing any materials
that the Court may deem necessary to review or approve the Parties‘ settlement and

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this Agreement.

b.) The Parties expressly agree that the terms of this Agreement are fair and equitable
and to the extent that Plaintiff’ s Counsel is required to petition the Court for
approval of the reasonableness and amount of his attomey’s fees and costs to be
paid under this Agrcement, Defendant does not oppose and agrees not to oppose
the amount (or the reasonableness of the amount) of Plaintiff’ s attorney’s fees to
be paid to Plaintiff"s Counsel out of the total Settlement Amount.

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e.) Defendant may file a motion for leave to file an unredacted version of this
Agreement under seal, while filing this Agreement on the public docket with the
amounts redacted from public view. Plaintiff agrees not to oppose that motion.

Employee agrees that each of the following statements is truthful and aecurate:
a.) Employee is of sound mind and body.

b.) Employee has sufficient education and experience to make choices for
himself that may affect his legal rights.

c.) Employee has full legal capacity to make decisions for himself.
d.) Employee is aware that this Release has significant legal consequences

e.) Employee has consulted with an attorney of his choice prior to signing
this Release and has determined that this settlement is a fair resolution
of his claims in this Litigation.

f.) Employee has decided to sign this Release of his own free will, and his
decision to sign this Reiease has not been unduly influenced or
controlled by any mental or emotional impairment or condition

g.) Employee is not executing this Release because of any duress or
coercion imposed on him by anyone.

Defendant is aware of the anti-retaliation provisions of Section 215 of the Fair Labor
Standards Act. Defendant agrees to respond to any inquiries from prospective
employers regarding Plaintiff by providing only a neutral reference stating his dates of
employment, job title, and last rate of pay, and Defendant agrees not to disclose the
fact of Litigation or settlement of Plaintiff’s claims in response to any employment
reference inquiries about Plaintiff and will not make any reference to eligibility or
ineligibility for rehire.

Employee represents that he has not sold, transferred, or assigned to a third party any
claims that he may have. Employee represents that any claims that he may have are
unencumbered and otherwise within his power to dispose of. Employee represents that

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he does not have any other pending claims against Employer other than the claims
brought in the Litigation or referenced herein.

Employee agrees that any and all prior understandings or agreements between Employee
and Employer with respect to the subject matter of this Release are superseded by this
Release, which fully and completely expresses the entire agreement and understanding of
the Parties with respect to the subject matter hereof

This Release shall not be orally amended, modified, or changed No change, amendment
or modification to the terms of this Release shall be valid unless such change,
amendment, or modification is memorialized in a written agreement between the Parties
that has been signed by Employee and by duly authorized officers or representatives of
Employer and that specifically references both this Release and the provisions herein that
are to be amended, modified, or changedl

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The language of all parts of this Release shall in all cases be construed as a whole,
according to its fair meaning, and not strictly for or against any of the parties As used in
this Release, the singular or plural shall be deemed to include the other whenever the
context so indicates or requires

Should any provision of this Release be declared or be determined by any court to be
illegal or invalid, the remaining parts, terms or provisions shall remain valid unless
declared otherwise by the court. Any part, term or provision which is determined to be
illegal or invalid shall be deemed not to be a part of this Release.

The Parties agree that a true copy of this Release may be used in any legal proceeding in
place of the original and that any such true copy shall have the same effect as the original

The Parties may execute this Agreement in counterparts, and execution in counterparts
shall have the same force and effect as if the Parties has signed the same instrumentl

Delivery of an executed copy of this Agreement by facsimile or signed .pdf delivered by
email shall be deemed effective as if delivery of an originall

The Parties intend for the Court to retain continuing and exclusive jurisdiction over the
Parties to this Agreernent, for the purpose of the administration and enforcement of this
Agreement.

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PLEASE READ CAR_EFULLY BEFORE SIGNING. THIS AGREEMENT INCLUDES A
MUTUAL LlMlTED RELEASE OF CLAIMS.

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